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                         IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF UTAH, CENTRAL DIVISION

FREE SPEECH COALITION, INC.; D.S.                    STIPULATED MOTION FOR BRIEFING
DAWSON; JOHN DOE; DEEP                             SCHEDULE ON PLAINTIFFS’ MOTION FOR
CONNECTION TECHNOLOGIES, INC.;                         PRELIMINARY INJUNCTION AND
CHARYN PFEUFFER; and JFF                              DEFENDANTS' MOTION TO DISMISS
PUBLICATIONS, LLC,
                                                         Case No.: 2:23-cv-00287-TS-DAO
                                Plaintiffs,
                                                               Judge Ted Stewart
 v.
                                                        Magistrate Judge Daphne Oberg
JESS L. ANDERSON, in his official capacity
as THE COMMISSIONER OF THE UTAH
DEPARTMENT OF PUBLIC SAFETY; and
SEAN D. REYES, in his official capacity as
THE ATTORNEY GENERAL OF THE
STATE OF UTAH,

                                Defendants.


       On June 1, 2023, Plaintiffs filed a Motion for Preliminary Injunction. ECF 24. The Court

has set a hearing on Plaintiffs’ Motion for Preliminary Injunction for July 17, at 10:00 a.m.

Defendants intend to file a Motion to Dismiss Plaintiffs’ complaint. The parties, through their

respective counsel, hereby stipulate and jointly move the Court for an order setting a briefing

schedule for Plaintiffs’ Motion for Preliminary Injunction and Defendants’ Motion to Dismiss, as

follows:

Defendants’ Motion to Dismiss due:                                               June 14, 2023

Defendants’ Opposition to Motion for Preliminary Injunction due:                 June 30, 2023

Plaintiffs’ Opposition to Motion to Dismiss due:                                 June 30, 2023

Defendants’ Reply in Support of Motion to Dismiss due:                           July 13, 2023

Plaintiffs’ Reply in support of Motion for Preliminary Injunction due:           July 13, 2023
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A proposed order is submitted simultaneously herewith.



DATED: June 7 th , 2023.




/s/ David N. Wolf
David N. Wolf
Lance Sorenson
Jason N. Dupree
Assistant Utah Attorneys General
Counsel for Defendants



/s/ D. Gill Sperlein
D. Gill Sperlein
Jeffrey Keith Sandman
Jerome Mooney
Counsel for Plaintiffs




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                                     CERTIFICATE OF SERVICE

 I certify that on June 7th , 2023, that a true and correct copy of STIPULATED MOTION FOR
 BRIEFING SCHEDULE ON PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
 AND DEFENDANTS' MOTION TO DISMISS
 was e-mailed to the following:


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Attorneys for Plaintiffs




                                                UTAH ATTORNEY GENERAL’S OFFICE

                                                /s/ Seth A. Huxford
                                                SETH A. HUXFORD
                                                Legal Secretary




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